Case 1:21-cv-02621-DDD-KLM Document 32 Filed 01/28/22 USDC Colorado Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-02621-DDD-KLM

  SCHUMÉ NAVARRO ,
       Plaintiff,

  v.

  CHERRY CREEK SCHOOL DISTRICT NO. 5 ,
       Defendant.


                     NOTICE OF CHANGE OF ADDRESS

       Daniel E. Burrows, counsel for Plaintiff, hereby notifies the Court and the parties that

  his address has changed. All future correspondence should be directed to:

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  Counsel’s telephone number remains the same.

       Respectfully submitted this 28th day of January, 2022.
Case 1:21-cv-02621-DDD-KLM Document 32 Filed 01/28/22 USDC Colorado Page 2 of 2




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                                    Page 2 of 2
